Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 1 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 2 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 3 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 4 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 5 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 6 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 7 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 8 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 9 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 10 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 11 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 12 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 13 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 14 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 15 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 16 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 17 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 18 of 19
Case 3:18-cv-05740-BHS Document 1 Filed 09/11/18 Page 19 of 19
